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                          UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                                         Norfolk Division


 THE COLEMAN COMPANY,INC.,

                FlaintifC^Counter-Defendant,

 V.                                                                  Case No. 2:20-cv-351


 TEAM WORLDWIDE CORPORATION,

                Defendant/Counter-Plaintiff.


 and


 CHENG-CHUNG WANG

                Counter-Plaintiff



                                              ORDER


         On November 17, 2021, the Court issued an Order directing that Plaintiff The Coleman

  Company, Inc. ("Coleman") and Defendant Team Worldwide Corporation ("TWW") file

  supplemental responses to TWW's sealing motions, ECF Nos. 153, 160, 166, 172, because the

  motions failed to comply with Local Civil Rule 5. ECF No. 178. Despite this Court's admonition

  and the Court's Order directing the parties to submit a supplemental response to the motions to

  seal in a fashion that complies with Local Civil Rule 5, TWW failed to do so. Although TWW

  submitted a supplemental memorandum in support of sealing which adequately complied with

  Local Civil Rule 5, see ECF No. 186, TWW violated Local Civil Rule 5 by failing to submit a

  proposed order that complies with Local Civil Rule 5.

         Local Civil Rule 5 requires that a party submit a non-confidential proposed order which

 "recite[s] the findings required by goveming case law to support the proposed sealing." E.D. Va.

  Loc. Civ. R. 5(C). There are three requirements for sealing court filings:(1)public notice with an
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 opportunity to object;(2)consideration of less drastic alternatives; and (3)a statement of specific

 findings in support of a decision to seal and rejecting alternatives to sealing. See Ashcraft v.

 Conoco, Inc., 218 F.3d 282, 288(4th Cir. 2000).

         TWW's supplemental response did not include any such proposed order as directed by the

 Court.' Nonetheless, because of the parties' representations in their supplemental memoranda,

 ECF Nos. 181-83, 187, the Court was able to resolve the First Motion to Seal, ECF No. 153, with

 a gavel order(see ECF No. 192). The Court was further able to resolve the Second Motion to Seal

 in part, and Third Motion to Seal, ECF Nos. 160, 166, with respect to Coleman's information,

 because Coleman appropriately drafted a proposed Order that complied with Local Civil Rule 5.

 See ECF Nos. 194, 195. However, TWW's failure to comply with Local Civil Rule 5 and the

 Court's Order in ECF No. 178 requires the Court to resolve the Second Motion to Seal in part with

 respect to TWW's information, and the Fourth Motion to Seal in its entirety.

         A. The Second Motion to Seal(ECF No. 160)

         TWW represents that Exhibits A,B,C,and D,are expert reports that "contain confidential

 and proprietary information belonging to TWW," and they "rely upon confidential product

  specification sheets, detailing the exact parameters of TWW's products that would give a

  competitive advantage to TWW's competitors."^ ECF No. 186 at 2-3. Both TWW and Coleman

  have represented that they have no reason to seal the unredacted version ofTWW's memorandum




 'The proposed orders TWW previously submitted in conjunction with the original motions to seal are
 inadequate because they fail to properly address what exhibits needs to be sealed in light of TWW's
 supplemental memoranda,and they fail to properly recite the findings as required by governing case law to
 support sealing, as required by Local Civil Rule 5(C). See ECF No. 153, attach. 1; ECF No. 160, attach. 1;
  ECF No. 166, attach. 1; ECF No. 172, attach. 1.
 ^ The Court granted the Motion to Seal with respect to Exhibit C based on Coleman's representations. See
  ECF No. 194.
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 in support of Motion to Exclude and Strike Certain Opinions of Dr. Singhose and Mr. Gisen, and

 supporting Exhibit E. Id.\ EOF No. 182 at 1-2.

        First, the public notice requirement has been met, because TWW filed a separate Notice of

 the Motion to Seal. ECF No. 162. Second, the Court has considered less drastic altematives, and

 finds that there are no less drastic altematives based on the nature of the confidential information.

 Third, the Court finds that sealing Exhibits A, B, C, and D, is appropriate because the exhibits

 contain confidential and proprietary information as outlined above.

        Accordingly, the Second Motion to Seal, ECF No. 160, is GRANTED with respect to

 Exhibits A, B, C, and D,(ECF Nos. 163, attachs. 1-4) and the Clerk is DIRECTED to maintain

 these exhibits under seal. However, because both TWW and Coleman have represented that they

 have no reason to seal the unredacted version of TWW's memorandum in support of Motion to

 Exclude and Strike Certain Opinions of Dr. Singhose and Mr. Olsen (ECF No. 163), and

 supporting Exhibit E(ECF No. 163, attach. 5), the Motion to Seal is DENIED with respect to

 those documents.


        B. The Fourth Motion to Seal(ECF No. 172)

        TWW represents that the unredacted version of TWW's Memorandum in Support of

 Motion for Summary Judgement incorporates confidential sales data and product specification

 information that is not generally known to the public and would be harmful to TWW if publicly

 disclosed. ECF No. 186 at 4-5. TWW represents that Exhibits D, E, 1, M, O, and Q,"contain

 references to TWW product specification sheets and production information that is confidential

 and not known to third parties." Id. at 4. "Exhibit J contains confidential sales information, and

 Exhibit L contains confidential product specifications belonging to TWW and not generally known

 to third parties." Id. Finally, Exhibit K contains "commercial information belonging to Exxel
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 Outdoors,LLC"which TWW understands is a catalog "made available only to customers ofExxel

 Outdoors." Id. TWW does not seek to seal Exhibits G,H,or N. Id. at 5. Coleman did not file a

 response, and therefore has no objection to the sealing or lack thereofofthese submissions.

           First, the public notice requirement has been met, because TWW filed a separate Notice of

 the Motion to Seal. EOF No. 174. Second, the Court has considered less drastic altematives, and

 finds that there are no less drastic altematives based on the nature of the confidential information.

 Third, the Court finds that sealing the unredacted version ofTWW's Memorandum in Support of

 Motion for Summary Judgement and supporting Exhibits D, E, I, J, K, L, M, O, and Q, is

 appropriate because the exhibits contain confidential and proprietary information as outlined

  above.


           Accordingly, the Second Motion to Seal, ECF No. 172, is GRANTED with respect to the

  unredacted version ofTWW's Memorandum in Support of Motion for Summary Judgement(ECF

  No. 175)and supporting Exhibits D,E,I, J, K, L, M,O,and Q(ECF Nos. 175 attachs. 1-2, 5-9,

  11, 12), and the Clerk is DIRECTED to maintain these exhibits under seal. However, because

  both TWW and Coleman have represented that they have no reason to seal the Exhibits G,H,and

  N (ECF Nos. 175 attachs. 3^, 10), the Motion to Seal is DENIED with respect to those

  documents.
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        ANY FUTURE MOTIONS TO SEAL,OR RESPONSES TO MOTIONS TO SEAL

 FILED BY EITHER PARTY THAT ARE NOT IN FULL COMPLIANCE WITH LOCAL

 CIVIL RULE 5 WILL NOT BE REMEDIED BY THE COURT,AND WILL BE DENIED

 WITH PREJUDICE FOR FAILURE TO FOLLOW LOCAL CIVIL RULE 5.

        The Clerk is DIRECTED to forward this Order to all counsel of record.

        It is so ORDERED.




                                                              Lawrence R. Leonard
                                                          United States Magistrate Judge
 Norfolk, Virginia
 December 2,2021
